The relief described hereinbelow is SO ORDERED.

Signed October 26, 2009.



                                                   __________________________________
                                                                Ronald B. King
                                                     United States Chief Bankruptcy Judge


                     IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

In re:                                        *
                                              *
         BAYLIS E. HARRISS, JR.               *             CASE NO. 07-50978K
                                              *             CHAPTER 7
         Debtor(s)                            *


ORDER AUTHORIZING REFUND OF OVERPAYMENT FROM UNCLAIMED FUNDS

         On this day came on to be considered the Trustee’s Application Authorizing Refund of

Overpayment From Unclaimed Funds.

         The Trustee’s claim for refund from the unclaimed funds is in the amount of $518.59.

         It appearing to the Court that the Trustee is entitled to receive the refund in the above

stated amount, and that said funds are now on deposit in the United States Treasury, and that

Notice of the Application was given to the United States Attorney.

         ORDERED        that the Clerk of Court direct issuance of a draft upon the United States

Treasury in the amount stated above, payable to the Trustee, Johnny W. Thomas.

                                                  ###


H:Application for Refund of Overpayment from Unclaimed Funds Harriss Order
